  Case 3:05-cr-00150-JAG-JA   Document 86   Filed 01/30/06   Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA

      Plaintiff

            v.                               CRIMINAL NO. 05-0150(JAG)


MELISHA MEDINA(2),

      Defendant(s)



                                   ORDER

     The deadline for filing objections to the Magistrate-Judge’s

Report and Recommendation has elapsed.         Upon review of the record,

the Court adopts the Report and Recommendation.


     IT IS SO ORDERED.

     In San Juan, Puerto Rico, this 30th day of January, 2006.


                                        S/Jay A. Garcia-Gregory
                                        JAY A. GARCIA-GREGORY
                                        United States District Judge
